 Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 1 of 40




             IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF ALABAMA
                      NORTHERN DIVISION


REV. PAUL A. EKNES-TUCKER;                     Case No.
BRIANNA BOE, individually and on               2:22-cv-184-LCB-SRW
behalf of her minor son, MICHAEL BOE;
JAMES ZOE, individually and on behalf          Honorable Liles C. Burke
of his minor son, ZACHARY ZOE;
MEGAN POE, individually and on behalf
of her minor daughter, ALLISON POE;
KATHY NOE, individually and on behalf
of her minor son, CHRISTOPHER NOE;
JANE MOE, Ph.D.; and RACHEL KOE,
M.D.

                          Plaintiffs,

and

UNITED STATES OF AMERICA,

                     Plaintiff-Intervenor,

      v.

STATE OF ALABAMA; KAY IVEY, in
her official capacity as Governor of the
State of Alabama; STEVE MARSHALL,
in his official capacity as Attorney General
of the State of Alabama; DARYL D.
BAILEY, in his official capacity as
District Attorney for Montgomery County;
C. WILSON BAYLOCK, in his official
capacity as District Attorney for Cullman
County; JESSICA VENTIERE, in her
official capacity as District Attorney for
Lee County; TOM ANDERSON, in his
official capacity as District Attorney for
  Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 2 of 40




 the 12th Judicial Circuit; and DANNY
 CARR, in his official capacity as District
 Attorney for Jefferson County.

                          Defendants.


 MEMORANDUM IN SUPPORT OF PLAINTIFF-INTERVENOR UNITED
STATES’ MOTION FOR A TEMPORARY RESTRAINING ORDER AND A
                PRELIMINARY INJUNCTION
     Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 3 of 40




                                        TABLE OF CONTENTS

                                                                                                               PAGE
INTRODUCTION ................................................................................................... 1
BACKGROUND ..................................................................................................... 2
         I.       Transgender Youth and Their Need for Medically Necessary and
                  Appropriate Gender-Affirming Care.................................................... 2
         II.      The Legislative Debate Regarding Senate Bill 184 ............................. 6
         III.     Senate Bill 184 ................................................................................... 8
ARGUMENT .......................................................................................................... 10
         I.       The United States is Likely to Succeed on the Merits of its
                  Equal Protection Claim ...................................................................... 10
                  A.       S.B. 184’s Ban on Gender-Affirming Medical Care
                           Warrants Heightened Scrutiny Under the Equal
                           Protection Clause ..................................................................... 10
                           1.       S.B. 184’s Ban on Gender-Affirming Care
                                    Discriminates on the Basis of Sex and Therefore
                                    Triggers Intermediate Scrutiny ...................................... 11
                           2.       S. B. 184’s Ban on Gender-Affirming Medical
                                    Care Discriminates Against Transgender
                                    Individuals, And Therefore Triggers Intermediate
                                    Scrutiny .......................................................................... 13
                  B.       S.B. 184 Fails Heightened Scrutiny Because it is Not
                           Substantially Related to Achieving Alabama’s
                           Articulated Governmental Interests ......................................... 16
                           1.       Alabama’s Stated Interest of Protecting Children
                                    is Pretextual ................................................................... 18
                           2.       S.B. 184 is Not Substantially Related to Protecting
                                    Children from “Harmful” Effects of Gender-
                                    Affirming Care............................................................... 19




                                                           i
     Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 4 of 40




                                       TABLE OF CONTENTS

TABLE OF CONTENTS (continued):                                                                             PAGE
                           3.       S.B. 184’s Ban on Gender-Affirming Care Fails
                                    Even Rational Basis Review.......................................... 24
         II.     S.B. 184 Will Cause Irreparable Harm Absent an Injunction............ 25
         III.    The Balance of the Equities and the Public Interest Both
                 Weigh in the United States’ Favor ..................................................... 27
CONCLUSION ....................................................................................................... 28
CERTIFICATION OF SERVICE




                                                         ii
     Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 5 of 40




                                    TABLE OF AUTHORITIES

CASES                                                                                                     PAGE

Adkins v. City of New York,
      143 F. Supp. 3d 134 (S.D.N.Y. 2015) .....................................................14, 15

Bd. of Educ. of the Highland Loc. Sch. Dist. v. United States Dep’t of Educ.,
       208 F. Supp. 3d 850 (S.D. Ohio 2016) ....................................................14, 15

Blaine v. North Brevard County Hospital District,
       312 F. Supp. 3d 1295 (M.D. Fla. 2018) ....................................................... 26

Brandt v. Rutledge,
     551 F. Supp. 3d 882 (E.D. Ark. 2021) .......................................................... 26

Bray v. Alexandria Women’s Health Clinic,
      506 U.S. 263 (1993)....................................................................................... 13

Bostock v. Clayton County, Ga.,
      140 S. Ct. 1731 (2020).............................................................................11, 13

Bowen v. Gilliard,
     483 U.S. 587 (1987).................................................................................14, 15

Cent. Alabama Fair Hous. Ctr. v. Magee,
      No. 2:11-cv-982-MHT, 2011 WL 5878363 (M.D. Ala. Nov. 23, 2011) ...... 26

Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah,
     508 U.S. 520 (1993)....................................................................................... 19

City of Cleburne, Tex. v. Cleburne Living Ctr.,
       473 U.S. 432 (1985).................................................................................14, 25

City of El Cenizo v. Texas,
       264 F. Supp. 3d 744 (W.D. Tex. 2017) ......................................................... 27

City of Richmond v. J.A. Croson Co.,
       488 U.S. 469 (1989)....................................................................................... 17



                                                        iii
     Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 6 of 40




CASES (continued)                                                                                                PAGE

Craig v. Boren,
      429 U.S. 190 (1976)....................................................................................... 16

Corbitt v. Taylor,
      513 F. Supp. 3d 1309 (M.D. Ala. 2021) ........................................................ 16

Dep’t of Agriculture v. Moreno,
      413 U.S. 528 (1973).................................................................................18, 25

D.T. v. Christ,
      552 F. Supp. 3d 888 (D. Ariz. 2021) .......................................................11, 14

Evancho v. Pine-Richland Sch. Dist.,
     237 F. Supp. 3d 267 (W.D. Pa. 2017) .....................................................14, 15

Flack v. Wisconsin Dep’t of Health Servs.,
      328 F. Supp. 3d 931 (W.D. Wis. 2018) ...................................................11, 14

F.V. v. Barron,
       286 F. Supp. 3d 1131 (D. Idaho 2018),
       decision clarified sub nom. F.V. v. Jeppesen, 477 F. Supp. 3d 1144
       (D. Idaho 2020) .............................................................................................. 14

Georgia Latino All. for Hum. Rts. v. Deal,
     793 F. Supp. 2d 1317 (N.D. Ga. 2011),
     Aff’d in part, rev’d in part and remanded sub nom. Georgia Latino
     All. for Hum. Rts. v. Governor of Georgia, 691 F.3d 1250 (11th Cir.
     2012) .............................................................................................................. 25

Glenn v. Brumby,
      663 F.3d 1312 (11th Cir. 2011) .........................................................11, 13, 17

Grimm v. Gloucester Cnty. Sch. Bd.,
     972 F.3d 586 (4th Cir. 2020), as amended (Aug. 28, 2020) .............11, 14, 15

Heller v. Doe,
      509 U.S. 312 (1993)....................................................................................... 24



                                                            iv
     Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 7 of 40




CASES (continued)                                                                                        PAGE

Karnoski v. Trump,
     926 F.3d 1180 (9th Cir. 2019) ....................................................................... 14

KH Outdoor, LLC v. City of Trussville,
    458 F.3d 1261 (11th Cir. 2006) ..................................................................... 28

Kirchberg v. Feenstra,
      609 F.2d 727 (5th Cir. 1979) ...................................................................20, 24

Lyng v. Castillo,
      477 U.S. 635 (1986).................................................................................14, 15

M.A.B. v. Bd. of Educ. of Talbot Cnty.,
     286 F. Supp. 3d 704 (D. Md. 2018).........................................................14, 15

Mississippi Univ. for Women v. Hogan,
      458 U.S. 718 (1982)...........................................................................16, 17, 19

New Orleans Pub. Serv., Inc. v. Council of City of New Orleans,
     491 U.S. 350 (1989)....................................................................................... 26

Nken v. Holder,
      556 U.S. 418 (2009)....................................................................................... 27

Norsworthy v. Beard,
     87 F. Supp. 3d 1104 (N.D. Cal. 2015) .....................................................14, 15

Palmore v. Sidoti,
     466 U.S. 429 (1984)....................................................................................... 18

Planned Parenthood Southeast, Inc. v. Bentley,
     951 F. Supp. 2d 1280 (N.D. Ala. 2013) ..................................................26, 27

Pursuing Am.’s Greatness v. Fed. Election Comm’n,
      831 F.3d 500 (D.C. Cir. 2016) ....................................................................... 27

Romer v. Evans,
     517 U.S. 620 (1996).................................................................................24, 25


                                                        v
     Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 8 of 40




CASES (continued)                                                                                         PAGE

SmithKline Beecham Corp. v. Abbott Labs.,
     740 F.3d 471 (9th Cir. 2014) ......................................................................... 17

United States v. Alabama,
      691 F.3d 1269 (11th Cir. 2012) ...............................................................10, 28

United States v. Arizona,
      641 F.3d 339 (9th Cir. 2011) ......................................................................... 26

United States v. Virginia,
      518 U.S. 515 (1996)................................................................................passim

United States v. Windsor,
      570 U.S. 744 (2013)....................................................................................... 17

Whitaker By Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of Educ.,
     858 F.3d 1034 (7th Cir. 2017) .................................................................11, 14

STATUTES

Ala. Crim. Code § 13-A-5-6(a)(3) .......................................................................9, 25

Ala. Crim. Code § 13A-5-11(a)(3) ......................................................................9, 25

Ala. Crim. Code § 26-1-1(a) ...................................................................................... 9

Ala. Code § 22-171A-2(a) ......................................................................................... 8

S.B. 184 (Ala. 2022) .........................................................................................passim

MISCELLANEOUS

Alabama House Judiciary Committee,
     House Judy Committee – 3/2/2022, 1:34:28 PM, Vimeo (Mar. 2,
     2022), https://vimeo.com/683940881/4edaeefda2 .......................................... 7

Alabama House of Representatives,
     House Part 1 – 4/7/2022, 9:32:05 AM, Vimeo (April 7, 2022),
     https://vimeo.com/697000650/59a642f5d4 ..................................................... 8


                                                        vi
     Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 9 of 40




MISCELLANEOUS (continued)                                                                         PAGE

American Psychiatric Association,
     Diagnostic and Statistical Manual of Mental Disorders, Fifth Edition,
     Text Revision (2022), https://perma.cc/FM78-QMZ2 .................................... 2

APA Assembly and Board of Trustees,
    Position Statement on Discrimination Against Transgender and
    Gender Diverse Individuals (2012, 2018),
    https://perma.cc/ES7D-YVG2 ....................................................................... 15

Department of Health & Human Servs., Office of Population Affairs,
     Gender Affirming Care and Young People, https://go.usa.gov/xuR8E......... 20

Jason Rafferty,
      Ensuring Comprehensive Care and Support for Transgender and
      Gender-Diverse Children and Adolescents, American Academy of
      Pediatrics Policy Statement (Oct. 1, 2018),
      https://perma.cc/D4R6-GP6C ....................................................................4, 20

Kiara Alfonseca,
      Alabama Governor Signs ‘Don’t Say Gay,’ Trans Care, and
      Bathroom Ban Bills, ABC News (Apr. 8, 2022),
      https://perma.cc/6ESP-A8E9 .................................................................7, 8, 16

Sandy E. James et al., Nat’l Ctr. for Transgender Equal.,
     The Report of the 2015 U.S. Transgender Survey (Dec. 2016),
     https://perma.cc/5CL3-RG9E ........................................................................ 14

The Trevor Project,
     Research Brief: LGBTQ Youth in the Workplace (Mar. 30, 2021),
     https://perma.cc/TG7W-E4J3 ........................................................................ 15

Tony Perkins,
     Wes Allen Discusses Upcoming Alabama Senate Vote on Vulnerable
     Child Compassion and Protection Act, YouTube (Feb. 15, 2021),
     https://www.youtube.com/watch?v=E9Q_b22cUWw .................................... 7




                                                   vii
    Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 10 of 40




MISCELLANEOUS (continued)                                                                              PAGE

Letter from Kristen Clarke, Assistant Attorney General for Civil Rights,
       U.S. Dep’t of Justice, to State Attorneys General (March 31, 2022),
       https://go.usa.gov/xuR8w .............................................................................. 27

Wylie Hembree, Peggy Cohen-Kettenis, & Louis Gooren et al.,
      Endocrine Treatment of Gender-Dysphoric/Gender-Incongruent
      Persons: An Endocrine Society Clinical Practice Guideline, The
      Journal of Clinical Endocrinology & Metabolism 3869-3903, Vol. 102,
      Issue 11 (Nov. 2017), https://perma.cc/8R3P-6NQY...................................... 6




                                                      viii
   Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 11 of 40




                                INTRODUCTION

      This lawsuit challenges a state statute that denies necessary medical care to

children based solely on who they are. The “Alabama Vulnerable Child

Compassion and Protection Act,” No. 2022-289, Senate Bill (“S.B.”) 184 (2022),

conditions whether a minor can receive certain forms of medical care on the sex

that young person was assigned at birth. Section 4 of S.B. 184 makes it a felony for

any person to “engage in or cause” medically necessary gender-affirming

procedures and treatments for transgender minors, while leaving other minors free

to receive the same procedures and treatments.

      By denying transgender minors—and only transgender minors—access to

gender-affirming care, S.B. 184 violates the Equal Protection Clause of the

Fourteenth Amendment. The law unjustifiably prohibits transgender minors from

accessing medically necessary and appropriate care, while imposing no such

limitation on cisgender minors. S.B. 184 discriminates on the basis of both sex and

transgender status, and it fails intermediate scrutiny. The law’s ban on medically

necessary gender-affirming care for transgender minors is not substantially related

to serving an important government objective. To the contrary: the law actually

harms the health of transgender youth. And it reflects a bias against transgender

individuals that can never provide a legitimate basis for legislation. Indeed, S.B.

184 would not even survive rational-basis review.



                                          1
     Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 12 of 40




       Implementation of S.B. 184 will have immediate, drastic, and often

traumatic physical and psychological impacts on vulnerable transgender children

and will cause irreparable harm to medical professionals, parents and caregivers,

transgender minors, and the interests of the United States. The balance of the

equities and the public interest also justify preliminary relief. Therefore, the United

States respectfully requests that this Court grant this motion.

                                    BACKGROUND

I.     Transgender Youth and Their Need for Medically Necessary and
       Appropriate Gender-Affirming Care

       Transgender people are individuals whose gender identity does not conform

with the sex they were assigned at birth. A transgender boy is a child or youth who

was assigned a female sex at birth but whose gender identity is male; a transgender

girl is a child or youth who was assigned a male sex at birth but whose gender

identity is female. By contrast, a cisgender child has a gender identity that

corresponds with the sex the child was assigned at birth. A person’s gender identity

is innate.

       According to the American Psychiatric Association’s Diagnostic &

Statistical Manual of Mental Disorders,1 “gender dysphoria” is the diagnostic term

for the condition experienced by some transgender people of clinically significant


1
 American Psychiatric Association, Diagnostic and Statistical Manual of Mental Disorders,
Fifth Edition, Text Revision (2022), https://perma.cc/FM78-QMZ2.

                                              2
      Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 13 of 40




distress resulting from the lack of congruence between their gender identity and the

sex assigned to them at birth. Declaration of Dr. Stephen Rosenthal, MD, in

Support of Plaintiffs’ Motion for a Temporary Restraining Order & Preliminary

Injunction, Dkt. 8-3 (“Rosenthal Decl.”) ¶¶ 24-25; Declaration of Dr. Linda A.

Hawkins, Ph.D., LPC, in Support of Plaintiffs’ Motion for a Temporary

Restraining Order & Preliminary Injunction, Dkt. 8-1 (“Hawkins Decl.”) ¶ 25.

        To be diagnosed with gender dysphoria, the incongruence between sex

assigned at birth and gender identity must persist for at least six months and be

accompanied by clinically significant distress or impairment in occupational,

social, or other important areas of functioning. Rosenthal Decl. ¶ 25. The inability

of transgender youth to live consistent with their gender identity due to irreversible

physical changes in their bodies has significant negative impacts on their overall

health and well-being. See Hawkins Decl. ¶¶ 45-46. The delay or denial of

medically necessary treatment for gender dysphoria causes many transgender

minors to develop serious co-occurring mental health conditions, such as anxiety,

depression, and suicidality. Rosenthal Decl. ¶¶ 26, 55; see also Hawkins Decl. ¶

41.

        Gender dysphoria is highly treatable with the use of medical treatments that

address the clinically significant distress by helping people who are transgender

live in alignment with their gender identity. See Rosenthal Decl. ¶¶ 23, 26. The



                                          3
    Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 14 of 40




precise treatments for gender dysphoria depend on each person’s individualized

needs. Id. ¶ 23; Hawkins Decl.¶¶ 32-37. The types of treatments provided differ

depending on the patient’s age. Rosenthal Decl. ¶ 33.

       Medical treatment standards for gender dysphoria, including for minors, are

well-established. Declaration of Dr. Armand Antommaria in Support of Plaintiff-

Intervenor United States’ Motion for a Temporary Restraining Order and a

Preliminary Injunction (“Antommaria Decl.”), attached hereto as Exhibit 1, ¶¶ 17,

23-38. The American Academy of Pediatrics agrees that gender-affirming care is

safe, effective, and necessary for the health and wellbeing of minors suffering from

gender dysphoria.2 Id. ¶¶ 34-35. Before puberty, treatment for gender dysphoria

does not include pharmaceutical or surgical intervention and is limited to “social

transition.” Hawkins Decl. ¶ 27. Social transition refers to allowing a transgender

child to live and express themselves in ways consistent with their gender identity.

See id. ¶¶ 27-29.

       The Endocrine Society’s clinical practice guidelines recognize that as

transgender youth reach puberty, puberty-delaying hormone therapy may become

medically necessary and appropriate. See Antommaria Decl. ¶¶ 27, 35. This

treatment allows transgender youth to avoid going through endogenous puberty


2
 Jason Rafferty, Ensuring Comprehensive Care and Support for Transgender and Gender-
Diverse Children and Adolescents, American Academy of Pediatrics Policy Statement (Oct. 1,
2018), https://perma.cc/D4R6-GP6C.

                                             4
   Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 15 of 40




and the heightened gender dysphoria and permanent physical changes that puberty

would cause. See Rosenthal Decl. ¶¶ 36-37. This treatment is not experimental:

medications that delay the onset of puberty have been used for decades to treat

early onset or “precocious puberty” for cisgender adolescents. Antommaria Decl.

¶¶ 23, 33.

      Interventions such as prescribing puberty-blocking medication and hormone

replacement therapy require substantial planning and consultation with medical

and mental health providers. See id. ¶¶ 16, 42; Rosenthal Decl. ¶ 47. Under the

Endocrine Society’s clinical guidelines, transgender adolescents may be eligible

for puberty-blocking hormone therapy only if the following steps have been taken:

       A qualified mental health professional confirms the adolescent has
        demonstrated a long-lasting and intense pattern of gender nonconformity
        or gender dysphoria, gender dysphoria worsened with the onset of
        puberty, and any coexisting psychological, medical, or social problems
        that could interfere with treatment have been addressed, such that the
        patient’s situation and functioning are stable enough to start treatment;

       The adolescent has sufficient mental capacity to give informed consent to
        this treatment, has been informed of the effects and side effects of
        treatment (including potential loss of fertility) and options to preserve
        fertility; and has given informed consent and the parents or other
        caretakers or guardians have consented to the treatment and are involved
        in supporting the adolescent throughout the treatment process; and

       A pediatric endocrinologist or other clinician experienced in pubertal
        assessment agrees with the indication for treatment, has confirmed that
        puberty has started in the adolescent, and has confirmed that there are no
        medical contraindications to treatment.



                                         5
      Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 16 of 40




See Antommaria Decl. ¶¶ 41-42.3

        For some transgender adolescents, it may also be medically necessary and

appropriate to provide hormone therapy to initiate puberty consistent with their

gender identity. Id. ¶¶ 28, 35. Evaluation for this treatment generally occurs

starting around age 14; transgender adolescents are only eligible for hormone

therapy if the steps above are satisfied. Id. ¶ 42. Under the World Professional

Association for Transgender Health clinical guidelines, adolescents who are

transgender may receive chest reconstructive surgery prior to the age of majority if

they have severe gender dysphoria, provided they have been living consistent with

their gender identity for a significant period of time. See id. ¶ 42. Other types of

surgical interventions, including genital surgery, are not recommended until a

patient has reached the age of majority. Id. ¶ 35.

II.     The Legislative Debate Regarding Senate Bill 184

        The process that produced S.B. 184 is replete with expressions of skepticism

about and hostility to the needs of transgender youth. In 2021 statement, for

example, Representative Wes Allen, a sponsor of S.B. 184, explained that a

motivation behind legislation banning gender-affirming care for transgender youth




3
 Wylie Hembree, Peggy Cohen-Kettenis, & Louis Gooren et al., Endocrine Treatment of
Gender-Dysphoric/Gender-Incongruent Persons: An Endocrine Society Clinical Practice
Guideline, The Journal of Clinical Endocrinology & Metabolism 3869-3903, Vol. 102, Issue 11
(Nov. 2017), https://perma.cc/8R3P-6NQY.

                                             6
    Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 17 of 40




is to affirm that if children “are born male, that they’re a male and if they’re born

female, they’re a female.”4

      During legislative debates, proponents of S.B. 184, including Representative

Allen5 and another bill sponsor, Senator Shay Shelnutt, 6 referred to gender-

affirming care, when provided to transgender youths as “child abuse” without

explaining why gender-affirming care for all other youth is entirely appropriate.

      Furthermore, during a March 2, 2022 House Judiciary Committee hearing

held on Alabama House Bill 266 (a companion bill to S.B. 184), Representative

Allen compared gender-affirming medical care to “vaping,” “dealing with

cigarettes,” and “dealing with drinking”—each of them a form of voluntary

activity that he characterized as antisocial.7 Representative Allen also compared

prescribing medications in the context of gender-affirming care to giving “anabolic

steroids” to young boys who believe they are a “Division I athlete” or a

“professional athlete.”8 And later, during debate on April 7, 2022, Representative

Allen not only analogized gender-affirming care to another often-criticized practice



4
  Tony Perkins, Wes Allen Discusses Upcoming Alabama Senate Vote on Vulnerable Child
Compassion and Protection Act, YouTube (Feb. 15, 2021),
https://www.youtube.com/watch?v=E9Q_b22cUWw.
5
  Alabama House Judiciary Committee, House Judy Committee – 3/2/2022, 1:34:28 PM, Vimeo
(Mar. 2, 2022), https://vimeo.com/683940881/4edaeefda2.
6
  Kiara Alfonseca, Alabama Governor Signs ‘Don’t Say Gay,’ Trans Care, and Bathroom Ban
Bills, ABC News (Apr. 8, 2022), https://perma.cc/6ESP-A8E9.
7
  Alabama House Judiciary Committee, supra note 5.
8
  Id.

                                           7
    Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 18 of 40




but criticized parents who seek it for their children, stating, “We do not allow

children to get tattoos even with parental permission. And why not? Because we do

not allow parents to permanently alter the bodies of their children.”9 Even on its

own terms, this statement is inaccurate; in fact, Alabama law does permit minors to

obtain a tattoo with prior written informed consent of the parent or legal guardian.

Ala. Code § 22-17A-2(a).

       In signing S.B. 184 into law, Governor Kay Ivey also expressed moral

disapproval of gender-affirming care for transgender youth: “I believe very

strongly that if the Good Lord made you a boy, you are a boy, and if He made you

a girl, you are a girl . . . [L]et us all focus on helping them to properly develop into

the adults God intended them to be.”10

III.   Senate Bill 184

       Governor Ivey signed S.B. 184 into law on April 8, 2022. The law becomes

effective on May 8, 2022. See S.B. 184, § 11.

       Section 3 of the bill defines “sex” as the “biological state of being male or

female, based on the individual’s sex organs, chromosomes, and endogenous

hormone profiles.” Id. at § 3(3). S.B. 184’s legislative findings reject the need for

interventions to treat gender dysphoria, describing such treatments as “unproven”


9
  Alabama House of Representatives, House Part 1 – 4/7/2022, 9:32:05 AM, Vimeo (April 7,
2022), https://vimeo.com/697000650/59a642f5d4.
10
   Alfonseca, supra note 6.

                                             8
      Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 19 of 40




and “experimental” and causing “numerous harmful effects.” Id. at § 2(11). The

findings characterize a “discordance between their sex and identity” as a phase that

resolves itself over time in most cases. Id. at § 2(4)-(5).

          Section 4 of S.B. 184 states that “no person shall engage in or cause”

specified types of medical care to be performed on a minor11 with “the purpose of

attempting to alter the appearance of or affirm the minor’s perception of his or her

gender or sex, if that appearance or perception is inconsistent” with their sex

assigned at birth. Id. at § 4(a). The practices prohibited by Section 4 of S.B. 184

include administering puberty blockers, administering hormone therapy, and

surgical interventions (including the removal of “any healthy or non-diseased body

part or tissue, except for a male circumcision”). Id. at § 4(a)(1)-(6). Notably, there

is an exception for procedures “undertaken to treat a minor born with a medically

verifiable disorder of sex development.” Id. at § 4(b).

          A violation of Section 4 of S.B. 184 is a Class C felony, id. at § 4(c), which

is punishable by up to 10 years of imprisonment and a fine of up to $15,000. See

Ala. Crim. Code §§ 13-A-5-6(a)(3), 13A-5-11(a)(3).

          By its very terms, Section 4 of S.B. 184 means that parents of transgender

youth, transgender minors old enough to make their own medial decisions, health




11
     In Alabama, the age of majority is nineteen. Ala Crim. Code § 26-1-1(a).

                                                  9
     Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 20 of 40




care professionals, and others are forced to choose between forgoing medically

necessary procedures and treatments or facing criminal prosecution.

                                    ARGUMENT

       For a court to issue a preliminary injunction, the plaintiff must establish the

following: “(1) substantial likelihood of success on the merits; (2) irreparable

injury will be suffered unless the injunction issues; (3) the threatened injury to the

movant outweighs whatever damage the proposed injunction may cause the

opposing party; and (4) if issued, the injunction would not be adverse to the public

interest.” United States v. Alabama, 691 F.3d 1269, 1281 (11th Cir. 2012). Each of

these factors is satisfied here.

I.     The United States is Likely to Succeed on the Merits of its Equal
       Protection Claim

       The United States is likely to succeed on the merits because Section 4 of

S.B. 184 violates the Equal Protection Clause of the Fourteenth Amendment by

discriminating against transgender minors on the basis of their sex and their

membership in a quasi-suspect class. Not only does Section 4 fail the heightened

scrutiny applicable to such laws; it would fail even rationality review.

       A. S.B. 184’s Ban on Gender-Affirming Medical Care Warrants
          Heightened Scrutiny Under the Equal Protection Clause

       Section 4 of S.B. 184 is subject to heightened scrutiny because, in forbidding

transgender youth to obtain medically necessary gender-affirming care while



                                          10
   Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 21 of 40




leaving all other minors eligible for such care, it discriminates on the basis of sex

and transgender status.

             1. S.B. 184’s Ban on Gender-Affirming Care Discriminates on the
                Basis of Sex and Therefore Triggers Intermediate Scrutiny

      S.B. 184 bans gender-affirming care only when that care is being provided

to transgender individuals. As the Supreme Court instructed, treating an individual

differently because that person is transgender “unavoidably” constitutes sex

discrimination because it rests on a person’s having “one sex identified at birth”

but identifying with a different sex or gender “today.” Bostock v. Clayton County,

Ga., 140 S. Ct. 1731, 1746 (2020). Similarly, the Eleventh Circuit has held that

differential treatment based on “gender-nonconformity is sex discrimination,

whether it’s described as being on the basis of sex or gender.” Glenn v. Brumby,

663 F.3d 1312, 1317 (11th Cir. 2011). Other circuits have held the same. See

Grimm v. Gloucester Cnty. Sch. Bd., 972 F.3d 586, 608-10 (4th Cir. 2020), as

amended (Aug. 28, 2020); Whitaker By Whitaker v. Kenosha Unified Sch. Dist. No.

1 Bd. of Educ., 858 F.3d 1034, 1051 (7th Cir. 2017) (school policy requiring

students to use bathroom in accordance with the sex on the student’s birth

certificate “is inherently based upon a sex-classification”); D.T. v. Christ, 552 F.

Supp. 3d 888, 896 (D. Ariz. 2021); Flack v. Wisconsin Dep’t of Health Servs., 328

F. Supp. 3d 931, 948 (W.D. Wis. 2018).

      Section 4 of S.B. 184 discriminates against transgender minors by

                                          11
   Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 22 of 40




unjustifiably denying them access to certain forms of medically necessary care.

The law prohibits transgender minors from obtaining care that has been well

established as medically appropriate and necessary, while imposing no comparable

limitation on cisgender minors for obtaining the same forms of care.

      In addition, Section 4 of S.B. 184 expressly discriminates on the basis of sex

because the medical treatments available to an Alabama minor under S.B. 184

depend on the sex that minor was assigned at birth based on “the individual’s sex

organs, chromosomes, and endogenous hormone profiles.” S.B. 184, § 3. Under

S.B. 184, if a minor was assigned male at birth, that minor cannot receive any of

the treatments or procedures identified in Section 4 that would “alter the

appearance of” the minor in a way that is “inconsistent” with being male or that

would “affirm” the minor’s “perception” of being female. See S.B. 184, § 4(a).

Similarly, if a minor was assigned female at birth, that minor cannot receive any of

the treatments or procedures identified in Section 4 that would “alter the

appearance of” the minor in a way that is “inconsistent” with being female or that

would “affirm” the minor’s “perception” of being male. See id at § 4(a). By

contrast, all other minors can access the covered treatments because those

treatments are, for them, consistent with the sex the minor was assigned at birth.

See id. at § 4(a). S.B. 184 also discriminates on the basis of sex because it

conditions the availability of particular medical procedures on a sex stereotype:



                                          12
     Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 23 of 40




that an individual’s gender identity should match the sex that individual was

assigned at birth. See Glenn, 663 F.3d at 1316, 1319-20; see also United States v.

Virginia, 518 U.S. 515, 549-50 (1996).

       Sex-based classifications like S.B. 184 are subject to heightened

constitutional scrutiny, specifically intermediate scrutiny. Virginia, 518 U.S. at

555; Glenn, 663 F.3d at 1315-16 (citations and quotations omitted).

               2. S.B. 184’s Ban on Gender-Affirming Medical Care
                  Discriminates Against Transgender Individuals, And
                  Therefore Triggers Intermediate Scrutiny

       S.B. 184 also warrants heightened scrutiny because it discriminates on the

basis of transgender status. Its legislative findings reflect an intent to target

transgender minors—and only transgender minors—by expressing a commitment

to preventing medical care that addresses youth who experience “discordance

between their sex and their internal sense of identity” and “reveal signs of gender

nonconformity,” including those designated with “gender dysphoria.” Compare

S.B. 184 § 2(2), 2(5), with Antommaria Decl. ¶¶ 43-45.12

       A law that criminalizes access to particular medical treatments based on


12
   It does not matter that S.B. 184 never expressly uses the word “transgender,” since it is clear
beyond doubt that transgender minors are the focus on the bill. “Some activities may be such an
irrational object of disfavor that, if they are targeted, and if they also happen to be engaged in
exclusively or predominantly by a particular class of people, an intent to disfavor that class can
readily be presumed.” Bray v. Alexandria Women’s Health Clinic, 506 U.S. 263, 270 (1993); see
also Bostock, 140 S. Ct. at 1741 (noting that it is “it is impossible to discriminate against a
person for being . . . transgender without discriminating against that individual based on sex”);
Christ, 552 F. Supp. 3d at 895-96.

                                               13
     Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 24 of 40




individuals’ transgender status demands heightened scrutiny because transgender

people are a quasi-suspect class, as the two circuits to have squarely addressed the

question have held. See Grimm, 972 F.3d at 611; Karnoski v. Trump, 926 F.3d

1180, 1200 (9th Cir. 2019). Several district courts have concluded the same.13

       An analysis of the factors used by the Supreme Court confirms that

classifications based on transgender status warrant heightened scrutiny.14 First,

transgender people, as a class, have historically been subject to discrimination and

continue to “face discrimination, harassment, and violence because of their gender

identity.” Whitaker, 858 F.3d at 1051; see also Grimm, 972 F.3d at 611-12; Flack,

328 F. Supp. 3d at 953; M.A.B., 286 F. Supp. 3d at 720; Evancho, 237 F. Supp. 3d

at 288; Highland, 208 F. Supp. 3d at 874; Adkins, 143 F. Supp. 3d at 139.15


13
   See F.V. v. Barron, 286 F. Supp. 3d 1131, 1145 (D. Idaho 2018), decision clarified sub nom.
F.V. v. Jeppesen, 477 F. Supp. 3d 1144 (D. Idaho 2020); Flack, 328 F. Supp. 3d at 951-53;
M.A.B. v. Bd. of Educ. of Talbot Cnty., 286 F. Supp. 3d 704, 719 (D. Md. 2018); Evancho v.
Pine-Richland Sch. Dist., 237 F. Supp. 3d 267, 288 (W.D. Pa. 2017); Bd. of Educ. of the
Highland Loc. Sch. Dist. v. United States Dep’t of Educ., 208 F. Supp. 3d 850, 873-74 (S.D.
Ohio 2016); Adkins v. City of New York, 143 F. Supp. 3d 134, 139-140 (S.D.N.Y. 2015);
Norsworthy v. Beard, 87 F. Supp. 3d 1104, 1119 (N.D. Cal. 2015).
14
   Those factors include whether the class (1) has historically been subjected to discrimination,
see Lyng v. Castillo, 477 U.S. 635, 638 (1986); (2) has a defining characteristic that “frequently
bears no relation to ability to perform or contribute to society,” City of Cleburne, Tex. v.
Cleburne Living Ctr., 473 U.S. 432, 440-441 (1985); (3) has “obvious, immutable, or
distinguishing characteristics that define them as a discrete group,” Lyng, 477 U.S. at 638; and
(4) is a minority lacking political power, Bowen v. Gilliard, 483 U.S. 587, 602 (1987).
15
   Ample evidence indicates that transgender people experience higher levels of physical and
sexual violence, harassment, and discrimination in the workplace, housing, healthcare, and
school than their non-transgender counterparts. Nearly half (47%) of respondents to the 2015
U.S. Transgender Survey reported being sexually assaulted. Sandy E. James et al., Nat’l Ctr. for
Transgender Equal., The Report of the 2015 U.S. Transgender Survey (Dec. 2016),
https://perma.cc/5CL3-RG9E (hereinafter USTS Report). Over 77% of respondents to the 2015



                                                14
   Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 25 of 40




       Second, no “data or argument suggest[s] that a transgender person, simply

by virtue of transgender status, is any less productive than any other member of

society.” Adkins, 143 F. Supp. 3d at 139.16 The American Psychiatric Association

has concluded that “[b]eing transgender or gender diverse implies no impairment

in judgment, stability, reliability, or general social or vocational capabilities.”17

       Third, transgender individuals share “obvious, immutable, or distinguishing

characteristics that define them as a discrete group.” Bowen, 483 U.S. at 602

(quoting Lyng, 477 U.S. at 638) (emphasis added). Specifically, transgender

individuals’ “gender identity does not align with the gender they were assigned at

birth.” M.A.B., 286 F. Supp. 3d at 721. Multiple courts have held that transgender

status is immutable, and “being transgender is not a choice[,] [r]ather, it is as

natural and immutable as being cisgender.” Grimm, 972 F.3d at 612-613.18

       Fourth, people who are transgender lack political power. See id. at 613.

While the number of openly transgender elected officials is growing, they still



U.S. Transgender Survey who were out or perceived as transgender in kindergarten through
twelfth grade reported having one or more negative experiences (such as verbal harassment or
physical attacks) in K-12 because people thought they were transgender. Id. at 132, 133. Another
recent study found 61% of employed transgender respondents between the ages of thirteen to
twenty-four reported experiencing discrimination in the workplace. The Trevor Project, Research
Brief: LGBTQ Youth in the Workplace (Mar. 30, 2021), https://perma.cc/TG7W-E4J3.
16
   Accord Grimm, 972 F.3d at 612; M.A.B., 286 F. Supp. 3d at 720; Evancho, 237 F. Supp. 3d at
288; Highland, 208 F. Supp. 3d at 874; Norsworthy, 87 F. Supp. 3d at 1119 n.8.
17
   APA Assembly and Board of Trustees, Position Statement on Discrimination Against
Transgender and Gender Diverse Individuals (2012, 2018), https://perma.cc/ES7D-YVG2.
18
   See also M.A.B., 286 F. Supp. 3d at 720-721; Evancho, 237 F. Supp. 3d at 288; Highland, 208
F. Supp. 3d at 874; Norsworthy, 87 F. Supp. 3d at 1119 n.8; Adkins, 143 F. Supp. 3d at 139-40.

                                              15
     Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 26 of 40




represent a fraction of office holders. Id. The proliferation of enacted legislation

aimed at restricting the rights of transgender individuals, particularly transgender

minors, is further evidence of the limited political power of the transgender

community.19

       Because Section 4 of S.B. 184 discriminates against transgender persons and

they constitute a quasi-suspect class, the statute is subject to intermediate scrutiny.

       B. S.B. 184 Fails Heightened Scrutiny Because it is Not Substantially
          Related to Achieving Alabama’s Articulated Governmental Interests

       To survive heightened scrutiny, the State must show that Section 4 of S.B.

184 “serves important governmental objectives” and that the “discriminatory

means employed are substantially related to achievement of those objectives.” See

Virginia, 518 U.S. at 524 (quoting Mississippi Univ. for Women v. Hogan, 458

U.S. 718, 724 (1982)); see also Craig v. Boren, 429 U.S. 190, 197 (1976). “The

burden of justification is demanding and it rests entirely on the State.” Virginia,

518 U.S. at 533 (quoting Mississippi Univ. for Women, 458 U.S. at 724).

Heightened scrutiny requires that the justification proffered be “exceedingly



19
   The very same day Governor Ivey signed S.B. 184 into law, she also signed H.B. 322 into law.
Alfonseca, supra note 6. H.B. 322 requires students in public K-12 schools to only use
bathrooms and locker rooms that correspond with the sex listed on their original birth certificate;
it also bans classroom instruction regarding sexual orientation and gender identity that is not age
or developmentally “appropriate.” Alabama has also issued Policy Order 63, which requires
transgender individuals to undergo “gender reassignment surgery” before they may amend the
sex designation on their driver’s licenses. See Corbitt v. Taylor, 513 F. Supp. 3d 1309 (M.D. Ala.
2021).

                                                16
   Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 27 of 40




persuasive.” Id. at 531. The required inquiry provides an enhanced measure of

protection in circumstances where there is a greater danger that the legal

classification results from impermissible prejudice or stereotypes. See City of

Richmond v. J.A. Croson Co., 488 U.S. 469, 493 (1989) (plurality opinion).

      Moreover, when intermediate scrutiny applies, the “justification must be

genuine, not hypothesized or invented post hoc in response to litigation,” and

“must not rely on overbroad generalizations.” Virginia, 518 U.S. at 533; see also

Glenn, 663 F.3d at 1321; SmithKline Beecham Corp. v. Abbott Labs., 740 F.3d

471, 482 (9th Cir. 2014) (noting that the court must examine the law’s “actual

purposes and carefully consider the resulting inequality to ensure that our most

fundamental institutions neither send nor reinforce messages of stigma or second-

class status.”) (citing United States v. Windsor, 570 U.S. 744 (2013)). A

classification does not withstand heightened scrutiny when “the alleged

objective” of the classification differs from the “actual purpose.” Mississippi Univ.

for Women, 458 U.S. at 730.

      S.B. 184’s ban on medically necessary gender-affirming care for transgender

youth does not survive the rigorous analysis that heightened scrutiny demands for

two reasons. First, the State’s articulated objectives are pretextual justifications

that mask the true purpose of the law: to express moral disapproval of a vulnerable

and unpopular group. That desire is not legitimate, let alone important or



                                          17
   Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 28 of 40




exceedingly persuasive. Second, even assuming the State’s asserted interest of

protecting children is genuine, S.B. 184 is not substantially related to that interest

because S.B. 184’s ban on various forms of gender-affirming care is harmful, not

beneficial, to children.

             1. Alabama’s Stated Interest of Protecting Children is Pretextual

      S.B. 184’s stated purpose is to protect youth. The legislation’s text and its

legislative history, however, belie the State’s stated purpose. “[I]f the constitutional

conception of ‘equal protection of the laws’ means anything, it must at the very

least mean” that the desire to express moral disapproval of “a politically unpopular

group cannot constitute a legitimate governmental interest.” Dep’t of Agriculture v.

Moreno, 413 U.S. 528, 534 (1973); see also Palmore v. Sidoti, 466 U.S. 429, 433

(1984). Unfortunately, S.B. 184’s real purpose is that forbidden desire.

      The text and legislative history of S.B. 184 are marbled with expressions of

moral disapproval of transgender status. So, too, its suggestion that transgender

minors will “outgrow” their gender identity. S.B. 184, § 2(4).

      Furthermore, S.B. 184’s legislative history, including statements from

Governor Ivey and co-sponsor Representative Allen, see pp. 7-8, supra, reflect

profound disapproval of people whose gender identity is inconsistent with the sex

they were assigned at birth.

      S.B. 184 bans particular treatments and procedures only when they are being



                                          18
   Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 29 of 40




used to affirm a gender identity that is “inconsistent with the minor’s sex” as

assigned at birth. S.B. 184, § 4. As such, S.B. 184 singles out transgender minors

for discriminatory treatment. Those same procedures that S.B. 184 prohibits for

transgender minors, remain as permissible as before for all other purposes,

including gender-affirming care for anyone who is not transgender. Puberty

blockers and surgical treatments can have “life implications,” S.B. 184, § 2(15), for

cisgender and intersex minors too, and yet Alabama leaves the decisions whether

to obtain such treatments to treating physicians, parents, and minors. The law’s

selective concern undercuts the state’s profession of a legitimate purpose. See

Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 547

(1993) (a state undermines its stated interest “when it leaves appreciable damage to

that supposedly vital interest unprohibited.”) (cleaned up).

             2. S.B. 184 is Not Substantially Related to Protecting Children
                from “Harmful” Effects of Gender-Affirming Care

      But even if the State’s asserted interest of protecting children were genuine,

S.B. 184’s felony ban on certain forms of gender-affirming care would violate the

Equal Protection Clause because the ban is not “substantially related” to achieving

that objective. Virginia, 518 U.S. at 533 (quoting Mississippi Univ. for Women,

458 U.S. at 724) (internal quotations omitted). Quite the opposite: banning the

forms of gender-affirming care criminalized by S.B. 184 will have devastating

effects on many transgender youths while providing no countervailing benefit to

                                         19
     Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 30 of 40




them or anyone else. See Kirchberg v. Feenstra, 609 F.2d 727, 734 (5th Cir. 1979)

(courts must “weigh[] the state interest sought to be furthered against the character

of the discrimination caused by the statutory classification”).

       The empirical propositions upon which S.B. 184 rests are in fact untrue.

       First, gender-affirming care for gender dysphoria is safe and effective.

Contrary to the State’s assertion that gender-affirming care for transgender youth

has “numerous harmful effects,” see S.B. 184 § 11, the overwhelming weight of

medical evidence confirms that the medical care that S.B. 184 forbids is safe,

effective, and medically necessary treatment for the health and wellbeing of

children and adolescents suffering from gender dysphoria. Antommaria Decl. ¶¶

34-35; Rosenthal Decl. ¶¶ 23, 27-30; see generally pp. 4, 21-22, supra.20

Moreover, delaying or denying gender-affirming care to transgender youth

experiencing gender dysphoria can result in numerous harms, including depression,

anxiety, and suicidality. See Hawkins Decl. ¶¶ 41, 45-46.21 The medical evidence

shows that trying to “cure” a transgender individual with a gender dysphoria

diagnosis by forcing them to live in alignment with their sex assigned at birth, and




20
  Rafferty, supra note 2.
21
  See Dep’t of Health & Human Servs., Office of Population Affairs, Gender Affirming Care
and Young People, at 1, https://go.usa.gov/xuR8E (“Medical and psychosocial gender affirming
healthcare practices have been demonstrated to yield lower rates of adverse mental health
outcomes, build self-esteem, and improve overall quality of life for transgender and gender
diverse youth.”).

                                             20
   Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 31 of 40




not their gender identity, is severely harmful and ineffective. See Antommaria

Decl. ¶ 47; Rosenthal Decl. ¶ 22.

      Second, the medical research supporting gender-affirming care is

substantial. Alabama is simply mistaken when it asserts that gender-affirming

medical treatment for patients experiencing gender dysphoria is new, unproven,

and poorly studied. See S.B. 184 § 2(11). To the contrary. Antommaria Decl. ¶ 23.

Leading medical associations, including the American Psychiatric Association, the

World Professional Association for Transgender Health, the American Academy of

Pediatrics, and the Endocrine Society, have all recognized that gender-affirming

care is safe, effective, and medically necessary treatment for the health and

wellbeing of some children and adolescents suffering from gender dysphoria. Id. ¶

35. Hormone treatment for gender dysphoria began soon after estrogen and

testosterone became commercially available in the 1930s and puberty blockers

have been in use for over 20 years. Id. ¶ 23.

      The assertions in S.B. 184’s legislative findings that the use of puberty

blockers for youths experiencing gender dysphoria is “experimental” and not

“FDA-approved,” see S.B. 184 § 2(7), is misleading. Antommaria Decl. ¶¶ 17, 19.

There have been ample observational studies, including federally funded trials,

supporting the use of puberty blockers and other gender-affirming hormone

therapy for adolescents. Id. ¶¶ 27-29.



                                         21
   Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 32 of 40




       The safety and effectiveness of the treatments and procedures used to treat

minors experiencing gender dysphoria is not undermined because there have not

been randomized, placebo-based trials for those treatments and procedures. Id. ¶¶

24-30. And the absence of such trials does not render them “experimental.” Id. ¶¶

14, 17, 23-30. In fact, such trials would be unethical because insufficient

participants are likely to enroll, and investigators and participants cannot be

“blind” since they would know if they were receiving the active treatment or a

placebo due to changes in their bodies or the absence thereof. Id. ¶¶ 30-31. The

lack of randomized trials is common for pediatrics. Id. ¶¶ 31-32. Relevant here,

there is the same absence of randomized trials supporting the use of puberty

blockers to treat precocious puberty (the premature initiation of puberty), id. ¶ 31,

a practice Alabama law continues to permit. There is no medical or research basis

for distinguishing the use of puberty blockers to treat precocious puberty from

using them to treat gender dysphoria. Id. ¶¶ 3, 47.

       Likewise, lack of FDA approval for a specific use does not bear on a

treatment’s efficacy. FDA approval is not required for all uses of a medication and

off-label use is in fact common in many areas of medicine, including pediatrics. Id.

¶¶ 20, 22. Once the FDA has approved a medication for one indication, thereby

agreeing that it is safe (i.e., its benefits outweigh its potential risks) and effective

for this intended use, prescribers are generally free to prescribe it for other



                                            22
   Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 33 of 40




indications. Id. ¶ 21. For example, nafcillin, an antibiotic commonly used to treat

lung or joint infections, lacks a pediatric indication. Id. ¶ 22. There are many

reasons, wholly unrelated to a drug’s safety or efficacy why its manufacturer might

not seek FDA approval for an additional use or patient group; it may already be

approved for adults but not for minors even though studies indicate it is safe when

used by both groups. Id. ¶¶ 20 & n.2, 21.

       Third, parents and many minors are able to comprehend the risks involved.

S.B. 184’s legislative findings assert that minors and their parents “are unable to

comprehend and fully appreciate the risk and life implications” of the treatments

banned by Section 4. S.B. 184 § 2(15). This is incorrect. Antommaria Decl. ¶ 39.

To begin, parental consent is required before providing gender-affirming care to

minors, as it is before medical providers render treatments with comparable risks,

uncertainty, and levels of evidence. Id. ¶ 40. For example, the evidence indicates

that most adolescents with gender dysphoria “have sufficient medical decision-

making capacity to make decisions regarding puberty blockers.” Id. ¶ 41. And

minors must be informed about all potential effects, including implications for

fertility and options for fertility preservation, as a predicate step. Id. ¶ 42.

       Moreover, S.B. 184 operates under the faulty presumption that parents, in

consultation with their medical providers, cannot make reasoned, informed

decisions about appropriate care for their children. In fact, parents “are frequently



                                            23
   Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 34 of 40




asked to consent to medical treatments for minors with comparable risks,

uncertainty, and levels of evidence.” Id. ¶¶ 40, 47. S.B. 184’s legislative findings

offer no compelling reason why parents would be unable to do so only when these

treatments are being provided to transgender youths.

      Because the medical evidence demonstrates that S.B. 184’s prohibition on

transgender youth who experience gender dysphoria receiving the specified forms

of care when their physicians and parents agree that such care is appropriate simply

does not substantially achieve the interest of protecting children, the statute

violates the Equal Protection Clause. See Feenstra, 609 F.2d at 734.

              3. S.B. 184’s Ban on Gender-Affirming Care Fails Even Rational
                 Basis Review

      Even if this Court were to apply only rational-basis review, S.B. 184’s ban

on gender-affirming medical care could not survive. The ban lacks even a “rational

relationship between the disparity of treatment and some legitimate governmental

purpose.” Heller v. Doe, 509 U.S. 312, 320 (1993). By requiring that the

“classification bear a rational relationship to an independent and legitimate

legislative end,” courts ensure that “classifications are not drawn for the purpose of

disadvantaging the group burdened by the law.” Romer v. Evans, 517 U.S. 620,

633 (1996).

      As explained above, see pp. 18-19, supra, S.B. 184 in fact reflects a desire to

express moral disapproval of transgender status. Given the law’s targeting of


                                          24
      Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 35 of 40




transgender minors, its passage indeed “seems inexplicable by anything but animus

toward” transgender people. See id. S.B. 184 is “a status-based enactment divorced

from any factual context from which we could discern a relationship to legitimate

state interests . . . .” Romer, 517 U.S. at 635. “[I]f the constitutional conception of

‘equal protection of the laws’ means anything, it must at the very least mean” that

the desire to express moral disapproval of “a politically unpopular group cannot

constitute a legitimate governmental interest.” Moreno, 413 U.S. at 534. S.B. 184

is motivated by prejudice toward a particular group, transgender individuals,

bearing no rational relationship to the law’s stated purpose and thus cannot survive

even the lowest level of review. See Cleburne, 473 U.S. at 450.

        Thus, the United States is likely to succeed on the merits of its equal

protection claim regardless of the level of scrutiny applied.

II.     S.B. 184 Will Cause Irreparable Harm Absent an Injunction

        If Section 4 of S.B. 184 is permitted to go into effect, the provision of

certain types of medically necessary gender-affirming care to transgender minors

will constitute a felony, punishable by up to 10 years in prison and a fine of up to

$15,000. S.B. 184 § 4(c); see also Ala. Crim. Code §§ 13-A-5-6(a)(3), 13A-5-

11(a)(3). Courts have repeatedly recognized that the risk of criminal penalties

constitutes an immediate and irreparable harm. See, e.g., Georgia Latino All. for

Hum. Rts. v. Deal, 793 F. Supp. 2d 1317, 1340 (N.D. Ga. 2011), aff’d in relevant



                                           25
     Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 36 of 40




part, Georgia Latino All. for Hum. Rts. v. Governor of Georgia, 691 F.3d 1250

(11th Cir. 2012); Planned Parenthood Southeast, Inc. v. Bentley, 951 F. Supp. 2d

1280, 1288-89 (N.D. Ala. 2013); Cent. Alabama Fair Hous. Ctr. v. Magee, No.

2:11-cv-982-MHT, 2011 WL 5878363, at *3 (M.D. Ala. Nov. 23, 2011).

       That is especially true given the court of action S.B. 184 compels individuals

to forgo. S.B. 184 will cause immense and irreparable physical and psychological

harm to many transgender minors by terminating their access to necessary medical

treatment and impose severe harm on their parents and medical providers. See

Antommaria Decl. ¶ 47; Hawkins Decl. ¶¶ 45-47; Rosenthal Decl. ¶¶ 56-57. As

one district court explained, the following forms of irreparable harm can ensue: (1)

transgender youths face “high risk of gender dysphoria and lifelong physical and

emotional pain,” (2) parents must choose between watching their children suffer or

uprooting their familiar to move to another state, and (3) physicians must choose

between breaking the law and providing appropriate medical care. Brandt v.

Rutledge, 551 F. Supp. 3d 882, 892 (E.D. Ark. 2021); see also Blaine v. North

Brevard County Hospital District, 312 F. Supp. 3d 1295, 1306 (M.D. Fla. 2018).22


22
   The Supreme Court and other courts have held that irreparable harm results from the
enforcement of a state law that violates the Constitution. See New Orleans Pub. Serv., Inc. v.
Council of City of New Orleans, 491 U.S. 350, 366-67 (1989) (assuming that irreparable injury
may be established “by a showing that the challenged state statute is flagrantly and patently
violative of . . . the express constitutional prescription of the Supremacy Clause”) (citation and
internal quotation marks omitted); United States v. Arizona, 641 F.3d 339, 366 (9th Cir. 2011)
(“We have ‘stated that an alleged constitutional infringement will often alone constitute



                                                26
   Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 37 of 40




III.   The Balance of the Equities and the Public Interest Both Weigh in the
       United States’ Favor

       The final two factors governing the issuance of preliminary relief—the

balance of equities and the public interest—merge where the federal government is

a party. Nken v. Holder, 556 U.S. 418, 435 (2009); see also Pursuing Am.’s

Greatness v. Fed. Election Comm’n, 831 F.3d 500, 511 (D.C. Cir. 2016)

(Government’s “harm and the public interest are one and the same, because the

government’s interest is the public interest”). Here, these factors manifestly favor

the United States. The United States has a strong and legitimate interest in ensuring

that states respect their obligations under the Constitution, and in fulfilling the

United States’ responsibilities under Federal law.23 If this Court does not grant

preliminary relief, the lives of many transgender youth in Alabama and their

families will be upended while the court continues to evaluate the lawfulness of

S.B. 184 during the pendency of the litigation. See Planned Parenthood Southeast,

Inc., 951 F. Supp. 2d at 1290.

       By contrast, Alabama will suffer no harm if the preliminary relief sought by

the United States is granted; as discussed above, S.B. 184 fails to protect the health

of minors notwithstanding its purported motivations. See pp. 19-20, supra.



irreparable harm.’”); see also City of El Cenizo v. Texas, 264 F. Supp. 3d 744, 809 (W.D. Tex.
2017).
23
   See Letter from Kristen Clarke, Assistant Attorney General for Civil Rights, U.S. Dep’t of
Justice, to State Attorneys General (March 31, 2022), https://go.usa.gov/xuR8w.

                                               27
   Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 38 of 40




Moreover, because the United States has demonstrated that it is likely to prevail on

the merits, an injunction preventing the enforcement of the unconstitutional

legislation poses no harm. Alabama, 691 F.3d at 1301 (“Frustration of federal

statutes and prerogatives are not in the public interest, and we discern no harm

from the state’s nonenforcement of invalid legislation.”); KH Outdoor, LLC v. City

of Trussville, 458 F.3d 1261, 1271-72 (11th Cir. 2006) (“the city has no legitimate

interest in enforcing an unconstitutional ordinance.”). In sum, the balance of the

equities and the public interest weigh in the United States’ favor.

                                  CONCLUSION

      For the foregoing reasons, the Court should grant the United States’ motion

for a temporary restraining order and a preliminary injunction.

Dated: April 29, 2022                  Respectfully submitted,

SANDRA J. STEWART                      KRISTEN CLARKE
United States Attorney                 Assistant Attorney General
Middle District of Alabama             Civil Rights Division

PRIM F. ESCALONA                       JOHN POWERS (DC Bar No. 1024831)
United States Attorney                 Counsel to the Assistant Attorney General
Northern District of Alabama           Civil Rights Division

LANE H. WOODKE                         CHRISTINE STONEMAN
Chief, Civil Division                  Chief, Federal Coordination and
Northern District of Alabama           Compliance Section

JASON R. CHEEK                         COTY MONTAG (DC Bar No. 498357)
Deputy Chief, Civil Division           Deputy Chief, Federal Coordination and
U.S. Attorney’s Office                 Compliance Section
Northern District of Alabama

                                         28
   Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 39 of 40




1801 Fourth Avenue North           s/Alyssa C. Lareau
Birmingham, Alabama 35203          ALYSSA C. LAREAU (DC Bar No. 494881)
Tel.: (205) 244-2104               RENEE WILLIAMS (CA Bar No. 284855)
Jason.Cheek@usdoj.gov              KAITLIN TOYAMA (CA Bar No. 318993)
                                   Trial Attorneys
STEPHEN D. WADSWORTH               United States Department of Justice
Assistant United States Attorney   Civil Rights Division
U.S. Attorney’s Office             Federal Coordination and Compliance
Middle District of Alabama         Section
Post Office Box 197                950 Pennsylvania Avenue NW - 4CON
Montgomery, Alabama 36101-0197     Washington, DC 20530
Tel.: (334) 223-7280               Tel.: (202) 305-2994
Stephen.Wadsworth@usdoj.gov        Alyssa.Lareau@usdoj.gov
                                   Renee.Williams3@usdoj.gov
                                   Kaitlin.Toyama@usdoj.gov

                                   Attorneys for Plaintiff-Intervenor United
                                   States of America




                                    29
   Case 2:22-cv-00184-LCB-CWB Document 62-1 Filed 04/29/22 Page 40 of 40




                          CERTIFICATE OF SERVICE

      I hereby certify that on April 29, 2022, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification

of such filing to counsel of record, in accordance with Rules 24(c) and 5(b)(2)(E).


                                              Respectfully submitted,

                                              s/ Jason R. Cheek
                                              Jason R. Cheek
                                              Assistant U.S. Attorney




                                         30
